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              EXHIBIT 3
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Introduction
Welcome                                                                           The WinGate journey is
Thank you for choosing WinGate to be a part of your family's journey to                about building
improved wellness. We know that sending a child away to any program              relationships that engage
is a huge leap of faith, Thank you for putting your trust in us - it is a         interest, invite choices,
trust that we take very seriously, and we invite you to walk with us            and support the discovery
every step of the way.                                                             of self along the trail.
Throughout this journey, you will have many questions about your
child's activities and well-being, about the program in general, and what
to do after WinGate. We welcome your questions at any time, and commit to providing open
and frequent communication along the way. In addition, we invite you to read and re-read this
Parent Handbook, as it contains many details about the philosophies, procedures, structures,
expectations, and activities of the program. We are honored to play such a vital role in your
family's path to more effective relationships.

WinGate Wilderness Therapy is a premier outdoor treatment program, built on a collection of
the best and most effective elements of wilderness therapy in the industry. We are a team of
experience and passion - a company built to last,

We love the work we do, integrating the power of the wilderness with the therapeutic process
of change. We are committed to the safety, health, and overall well-being of those we have the
privilege to work with.

                                MissiOn
                                 Utilizing the healing elements of the earth to unite the hearts of
                                 families, we teach through example, encourage through love
                                 and understanding, empower change, and ignite a renewed
                                 commitment to life.

                                 Vision
                                 We create an awaking of the heart through healing the pain of
                                 the past, understanding the value of today, and gaining a sense
                                 of strength for the future.

Core Philosophy of Change
WinGate's strengths-based model utilizes the wilderness - it's beauty and its challenge - to assist
students in understanding their talents and abilities. Unlike a "boot camp" model, the WinGate
journey is about building relationships that engage interest and invite the discovery of self
along the trail. As students become engaged in their experience, the metaphors of creating
useful tools and developing new-found skills open the windows of therapeutic progress.



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    Through this process students begin to recognize that their choices brought them to this point in
    their life, and current actions will help them create a new, more effective pathway to success.

    We Are WinGate
    WinGate was founded bringing together a team of the most experienced program developers,
    administrators, and clinicians in the field, The programming, philosophy, and therapeutic
    interventions created by this team have formed an atmosphere of success for hundreds of
                                           families and bringing a new era of development in
                                          wilderness therapy.
We have learned that an
                                         The medical team consists of our highly experienced
effectiveway   to build and
                                         medical director, our field nurse, medical-response-trained
maintain positive relationships          field staff, and local emergency medical resources. Each
is to remain unoffended, even in         student receives a complete physical upon arrival, as well
the face of opposition, defiance,        as weekly physical check-ups in the field by our field
criticism, and disrespect.               nurse. Through the latest technologies and strategic field
                                         areas, we can address other medical concerns and/or
                                          injuries immediately.




    The field staff is among the best in the industry and undergoes
    continuous training in the safety, outdoor, and emotional growth
    elements of the program. They are excellent communicators,
    "engagers," and "inviters," and play an integral role in the process
    of change for each student on the trail.

    For more information, including current bios of our team
    members, please visit our website at
    w ww.wingatewildernesstherapy.com, or contact our office at
    1-800-560-1599.


    Program Overview
    Daily schedule
    While each day in the program may bring unique experiences and opportunities, you can
    expect your child to operate within a fairly predictable structure. While there will undoubtedly
    be variations and the need for flexibility, there are generally two types of days in the field -
    hiking days and therapy days. The following schedules will give you a glimpse into the life of a
    student at WinGate:




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Hikin,Days(usually Wednesday through Sunday)

  •      Arise and Wash up (face & hands)
  •      Prepare breakfast and eat
  •      Staff "teaching moment" or group discussion
  •      Pack personal gear
  •      Breakdown camp / pack group gear / camp sweep
  •      Hike to next camp site (2 to 5 miles in Winter,5 to 10 miles in Summer)
  •   Lunch
  •   Set up group camp / set up personal
      sleeping shelter
  • Group games and activities
  • Learn primitive skills /complete therapy
      assignments / other educational packets
  • Group discussion ("Wind
      Speaking"/teaching principles, etc.)
  • Prepare dinner and eat
  •:* Games / group discussions / teaching moment
  • Retire to bed



Therapy or "Lay Over" Days (usually Monday and Tuesday)

   ▪     Arise and wash up
   •     Staff "Teaching Moment"
   •:•   Prepare breakfast and eat
   •     Doctor visit / health check for each student
   •     Lunch - prepared meal of fruit, vegetables, and a main course for staff & students
   •     Therapist arrives - individual and family therapy sessions
   •     Personal & Mentor Time (PMT) to write letters, complete therapy assignments, complete
         skills, etc.
    •    Group therapy - therapists may spend an overnight with group
    •    Games

Food &-c Nutrition
The food at WinGate is for sustenance - not for pleasure. Sometimes a difficult lesson to learn,
students recognize over time that they can manage their appetites, desires, addictions, and
wants, and food becomes a gateway to that insight. This becomes an internal locus of control
based on a very external motivator.

Food and nutrition are an important part of your child's success in the wilderness. Under the
direction of a licensed dietician, we have created a menu that includes a variety of foods that



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provide the necessary nutritional elements, and taste good too. These foods are typically dried
or dehydrated, supplemented by fresh fruits and vegetables twice a week. A sample of the
dried food items includes rice, pasta, beans, lentils, couscous, split peas, flour, brown sugar,
cinnamon, oats, granola, milk, cheese, butter, spices, nuts, banana chips, raisins, etc. Fresh
produce generally includes carrots, broccoli, potatoes, onion, garlic, avocados, tomatoes, apples,
oranges, bananas,lemons/limes, and the like depending on the season.

Hydration is of the utmost concern and importance to us. Prior to a hike, staff check the
students hydration level by what is a called a "pulse check". This keeps safety levels high and
teaches students the importance of water intake. Water is brought from town to the field at each
campsite to ensure water purity and safety.

Gear
Spending several weeks in the wilderness requires appropriate outfitting. Because we are
familiar with the terrain and climate of the field, WinGate will provide all the gear your child
will need during his or her stay. Students at WinGate are never deprived of their gear at
anytime. As part of the journey, your child may choose to participate in what we call "challenge
by choice." This is an option for students to turn in gear (still getting it upon discharge) for more
primitive items they desire to make on their own. For example,rather than utilizing a
commercial backpack, a student may choose to make a backpack from native materials like the
packs our staff use. Or, they may want to make moccasins out of leather to wear around camp
rather than their issued "Cross."

Upon arrival at WinGate your child will be outfitted in the proper outdoor gear and everything
he or she arrived with (personal belongings) will be inventoried, placed in a bin and locked
away until discharge.

Hygiene
Personal hygiene is very important for each student. Hygiene supplies are provided and
distributed to each student, and every student will have access to warm showers each week.
Laundry is also done for every student on a weekly basis.

Please keep in mind that there are times when students enjoy living outdoors as a "dirty time".
Pictures may depict a student far from "polished". We urge parents to remember that their
child is living outdoors, and a little dirt may be seen. WinGate invites students to clean up as
much as possible and hands and teeth as well as feminine hygiene issues are all monitored very
closely.

Assessment
Accurate assessment is critical in clearly understanding your child. This is one of the key
reasons that a thorough and detailed history is so vital, and we appreciate your efforts in
providing as much data as you can. We also utilize information from the clinical interviews and
on-going observation as data points in forming our diagnostic impressions. An additional


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powerful, comprehensive method in understanding elements of the individual is accomplished
through a psycho-educational evaluation.

Because we don't want a cross over "bias" by testing internally, we recommend that a
psychological evaluation be done by an outside firm (if no recent testing has been done). You as
parents will contract directly with the psychological testing services. Talk to your WinGate
therapist if you have questions or recommendations are needed.

Your Commitment
Commit today that you and your student will graduate from WinGate Wilderness Program.
Communicate this commitment to yourself and your student every chance you get. Placing a
child in a wilderness program is a very difficult decision. Our experience is that as long as a
parent is questioning this decision, neither the student nor the family can make progress.
Students can sense the indecision and will spend time working to get out of the program
instead of working in the program. Your time in wilderness therapy is short yet impactful. The
best first step you can take is to solidify your commitment and communicate that commitment
to your child.

Resist the urge to rescue. You have embarked upon a therapeutic journey. The outcome of this
journey will be determined by your commitment to keep going even when the going is tough.
                                                   You and your child will be addressing fears,
                                                    pain, and coining to realizations along the
                                                    way. It is natural as a parent to want to spare
                                                   children any discomfort, and change often
                                                    brings about emotional pain. Perhaps a way
                                                    to view the wilderness process accurately is
                                                    to recognize the difference between
                                                    suffering and struggling. We do not want
                                                   kids to suffer, however, we recognize that
                                                   struggle is a necessary part of growth - just
                                                   like building muscles. It is extremely
                                                   important that you "resist the urge to rescue"
your child when they encounter the struggle of their life's experience. Instead, work with your
therapist on ways to support your child. Growth and change come as we learn to face our fears,
and work through struggles. This is a key step to deep and meaningful change.

Make a firm commitment to the change process. Change is difficult and often painful. It
requires us to look at ourselves in a way that is not always pleasant. Make a commitment today
to yourself and your family that you will do whatever it takes to create change in yourself and
your family.




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Communication
Communication between you and the program, as well as you and
your child, is a vital component of the program. You will
undoubtedly have questions about your child's experience, and
will also benefit from communicating with your child in a more
structured way throughout the wilderness experience. The
following describes various aspects of the communication process
during your child's stay at WinGate.

Phone Calls
Your primary contact during your child's stay will be his or her
therapist. The therapist will make every effort to be available
throughout the family journey.

Weekly
Phone calls will happen on a weekly basis and are generally fifty minutes long (unless
specifically worked out with therapist). Usually set at a specific time each week, this is an
opportunity for your therapist to review your child's progress, share new insights about your
child, discuss treatment planning, ask you questions about family dynamics and history that
might facilitate the therapeutic process, and answer questions you may have about the program
or your child's experience. It is also a time to review assignments and other work you may do as
you engage in the process of change as well.

Parent Conference Call Option
Every Tuesday evening at 7:00 PM Mountain Time parents have the opportunity to call into a
conference line and participate in a conversation on current events and specific topics related to
the wilderness experience. This is a great opportunity to ask questions, receive instruction, and
gain valuable support through your child's stay at WinGate. This resource is also available post
discharge from the program.

To join the parent conference call dial 1-605-475-4000 then enter the participant code of #619314.
Upon connection, follow the prompts.

The WinGate Parent Portal
An e-mail will be sent to connect your WinGate account (used in the application process) to our
Parent Portal. This will be the primary method of communication between you and your child
as you and your child exchange letters. Initially, we encourage communication be limited
between you (the parents) and your son or daughter. As he or she progresses through the
program, it may be beneficial to have other family members participate in letter writing as well.
We will encourage your child to focus his or her letter writing to family members, but often
they feel the need to write to friends or other important people in their life. Some of these will



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